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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  SYMBOLOGY INNOVATIONS, LLC          §
                                      §
        Plaintiff,                    §               Case No: 2:15-cv-01169-RWS-RSP
                                      §
  vs.                                 §               LEAD CASE
                                      §
  ADAMS EXTRACT                       §
                                      §
        Defendant.                    §
  ___________________________________ §
  SYMBOLOGY INNOVATIONS, LLC          §
                                      §
        Plaintiff,                    §               Case No: 2:15-cv-01180-JRG-RSP
                                      §
  vs.                                 §               CONSOLIDATED CASE
                                      §
  RALPH LAUREN CORPORATION            §
                                      §
        Defendant.                    §
  ___________________________________ §

           UNOPPOSED MOTION TO DISMISS DEFENDANT RALPH LAUREN
                      CORPORATION WITH PREJUDICE


         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and the terms of a separate
  agreement (“Settlement Agreement”), Plaintiff Symbology Innovations, LLC (“Symbology”) files
  this Unopposed Motion to Dismiss Defendant Ralph Lauren Corporation With Prejudice.
         Wherefore, Symbology moves this Court to dismiss this action and all claims by
  Symbology against Defendant with prejudice, and all claims by Defendant as moot, with each
  party to bear its own costs, attorney’s fees and expenses, and requests that the Court enter the
  proposed order of dismissal submitted herewith.
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  Dated: July 8, 2016                         Respectfully submitted,
                                              /s/ Jay Johnson
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                                              ATTORNEYS FOR PLAINTIFF



                              CERTIFICATE OF CONFERENCE

  The undersigned certifies that on July 8, 2016, he met and conferred with counsel for Defendant
  concerning this motion and that Defendant’ counsel agreed to the motion.

                                              /s/ Jay Johnson
                                              Jay Johnson

                                 CERTIFICATE OF SERVICE

  The undersigned certifies that all counsel of record who have consented to electronic service are
  being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-
  5(a)(3) on July 8, 2016.

                                              /s/ Jay Johnson
                                              Jay Johnson
